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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 07-20398-CR-UNGARO/O’SULLIVAN


  UNITED STATES OF AMERICA,

               Plaintiff,

  v.

  MABEL DIAZ and ABNER DIAZ

               Defendants.
                                                /

                            REPORT AND RECOMMENDATION

        THIS MATTER came before the Court upon Mabel and Abner Diaz’s Motion to

  Dismiss Counts 45-56 (DE# 248, 2/21/08), Mabel and Abner Diaz’s Motion to Dismiss

  Counts 34 or 3[9]1 Based on Multiplicity (DE# 249, 2/21/08) and Mabel and Abner

  Diaz’s Motion to Dismiss Counts 2-33 Based on Multiplicity (DE# 250, 2/21/08). This

  matter was referred to the undersigned by the Honorable Ursula Ungaro in accordance

  with 28 U.S.C. § 636(b). (DE # __, 2/26/08). Having considered the defendants’

  motions, the court file and applicable law, the undersigned respectfully recommends

  that: (1) Mabel and Abner Diaz’s Motion to Dismiss Counts 34 or 3[9] Based on

  Multiplicity (DE# 249, 2/21/08) be DENIED as moot and (2) Mabel and Abner Diaz’s

  Motion to Dismiss Counts 45-56 (DE# 248, 2/21/08) and Mabel and Abner Diaz’s

  Motion to Dismiss Counts 2-33 Based on Multiplicity (DE# 250, 2/21/08) be DENIED.




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        Although the title of the defendants’ motion refers to Count 35, the defendant’s
  arguments are directed to Count 39.
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                                     BACKGROUND

        Mabel and Abner Diaz (hereinafter “defendants”) are charged by Second

  Superceding Indictment with Conspiracy to Commit Health Care Fraud (Count 1) in

  violation of 18 U.S.C. § 1349, Health Care Fraud (Counts 2-33) in violation of 18 U.S.C.

  § 1347, Conspiracy to Commit Money Laundering (Count 34 and 39) in violation of 18

  U.S.C. § 1956(h), Money Laundering (Counts 35-36, 38) in violation of 18 U.S.C. §

  1957, Money Laundering (Counts 40-24) in violation of 18 U.S.C. § 1956(a)(1)(B)(i) and

  Aggravated Identity Theft (Counts 45-56) in violation of 18 U.S.C. § 1028A. See

  Second Superceding Indictment (DE# 162, 8/24/07).

        On February 21, 2008, the defendants filed the instant motions: Mabel and

  Abner Diaz’s Motion to Dismiss Counts 45-56 (DE# 248, 2/21/08), Mabel and Abner

  Diaz’s Motion to Dismiss Counts 34 or 3[9] Based on Multiplicity (DE# 249, 2/21/08)

  and Mabel and Abner Diaz’s Motion to Dismiss Counts 2-33 Based on Multiplicity (DE#

  250, 2/21/08). The government filed Government’s Response to Motion to Dismiss

  Counts 45-56 (Aggravated Identity Theft) (DE# 252) on February 24, 2008 and

  Government’s Response to Motions to Dismiss Based on Multiplicity (DE# 256) on

  February 29, 2008. The defendants did not file reply memoranda.

                                       DISCUSSION

  I.    Mabel and Abner Diaz’s Motion to Dismiss Counts 45-56 (DE# 248, 2/21/08)

        The defendants seek to dismiss counts 45 through 56 for failure to state an

  offense. See Mabel and Abner Diaz’s Motion to Dismiss Counts 45-56 (DE# 248,

  2/21/08). Counts 45 through 56 charge the defendants with aggravated identity theft in



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  violation of 18 U.S.C. § 1028A. See Second Superceding Indictment. The underlying

  offense is health care fraud. Specifically, the defendants are charged with knowingly

  transferring, possessing and using, without lawful authority Medicare beneficiaries’

  names and Health Insurance Claim Numbers in submitting Medicare claims, in violation

  of 18 U.S.C. § 1347, which prohibits health care fraud. Id. According to the defendants,

  health care fraud cannot serve as the underlying offense for aggravated identify theft

  because it is not “[a] felony violation enumerated in subsection (c).” 18 U.S.C. §

  1028A(a)(1). See Mabel and Abner Diaz’s Motion to Dismiss Counts 45-56 (DE# 248,

  2/21/08).

         Title 18, United States Code, section 1028A provides that “[w]hoever, during and

  in relation to any felony violation enumerated in subsection (c), knowingly transfers,

  possesses, or uses, without lawful authority, a means of identification of another person

  shall, in addition to the punishment provided for such felony, be sentenced to a term of

  imprisonment of 2 years.” 18 USC § 1028A(a). Subsection (c) provides that “[f]or

  purposes of this section, the term ‘felony violation enumerated in subsection (c)’ means

  any offense that is a felony violation of . . . any provision contained in chapter 63

  (relating to mail, bank, and wire fraud).” 18 USC § 1028A(c)(5) (emphasis added). The

  defendants argue that the term “relating to” limits the available underlying felony

  violations in chapter 63 to mail, bank, and wire fraud. Thus, according to the

  defendants, health care fraud, although part of chapter 63, is omitted from the

  underlying crimes listed in subsection (c) of section 1028A.

         The defendants rely solely on State v. Rubio, 967 So.2d 768 (Fla. 2007). In

  Rubio, the defendants were charged with, inter alia, racketeering, in violation Fla. Stat.

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  § 895.03(3) (2002), conspiracy to commit racketeering, in violation of section Fla. Stat.

  § 895.03(4) (2002) and white collar crime, in violation of Fla. Stat. § 775.0844 (2002).

  Id. at 770. The defendants moved to dismiss these charges arguing that section

  817.505 (patient brokering) could not serve as a predicate for the racketeering and

  white collar crime charges. Id. at 779.

         Section 895.02, Florida Statutes (2002), states in part that:

         (1) “Racketeering activity” means to commit, to attempt to commit, to
         conspire to commit, or to solicit, coerce, or intimidate another person to
         commit:

                (a)    Any crime which is chargeable by indictment or
                information under the following provisions of the Florida
                Statutes:

                ....

                26. Chapter 817, relating to fraudulent practices, false
                pretenses, fraud generally, and credit card crimes.

  Fla. Stat. § 895.02(1)(a) (2002) (emphasis added).

         Similarly, the White Collar Crime Victim Protection Act, Fla. Stat. § 775.0844

  (2002), defines “white collar crime” as “[t]he commission of, or a conspiracy to commit,

  any felony offense specified in . . . Chapter 817, relating to fraudulent practices.” Fla.

  Stat. § 775.0844(3)( a)(4) (emphasis added).

         With respect to the racketeering counts, the defendants successfully argued that

  although the patient brokering statute (Fla. Stat. § 817.505) was within Chapter 817, it

  was not a proper predicate for a racketeering charge because it did not require fraud.

  Id. at 779. “[S]ection 895.02(1)(a)(26) limits its predicate offense to only those sections

  that include the elements of fraud by including the ‘relating to fraudulent practices, false


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  pretenses, fraud generally, and credit card crimes’ language.” Id. Thus, according to

  the defendants, the “relating to” language limited the predicate offenses on which a

  charge of racketeering could be based. The defendants made a similar argument with

  respect to the white collar crime charge. The trial court agreed with the defendants and

  dismissed the counts. The district court affirmed the trial court on that issue. The Florida

  Supreme Court, in affirming the dismissal of the racketeering and white collar crime

  counts, cited the district court’s reasoning that “[c]onstruing the ‘related to’ language as

  merely referring to the chapter already listed would render that language superfluous.”

  Id. at 780.

         As in Rubio, the defendants in the instant case argue that the term “relating to” in

  the phrase “any provision contained in chapter 63 (relating to mail, bank, and wire

  fraud)” limits the underlying offenses to mail, bank and wire fraud. 18 U.S.C. § 1028A

  (c)(5) (emphasis added). See Mabel and Abner Diaz’s Motion to Dismiss Counts 45-56

  (DE# 248 at 4, 2/21/08). “[T]he only chapter 63 offenses that may serve as an

  underlying crime for a Section 1028A violation are those relating to mail (§ 1341), bank

  (§ 1344) and wire fraud (§ 1343). ” Id.

         The government counters that “the phrase [‘relating to’] is illustrative, and does

  not exclude any portion of chapter 63 from consideration as a predicate offense.” See

  Government’s Response to Motion to Dismiss Counts 45-56 (Aggravated Identity Theft)

  (DE# 252 at 2, 2/24/08). The government notes that “section 1028A(c) contains a long

  list of incorporated provisions, a list that would be incomprehensible to the causal

  reader without descriptions of the incorporated provisions.” Id. at 4-5.

         The government relies on United States v. Herring, 602 F.2d 1220 (5th Cir.

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  1979)2 and United States v. Monjaras-Castenada, 190 F. 3d 326 (5th Cir. 1999) to

  support its statutory construction. In Herring, the defendant challenged the sufficiency

  of an indictment charging him with racketeering in violation of 18 U.S.C. § 1962(c)

  (1976). Section 1961 provided in part:

         As used in this chapter –

                (1) “Racketeering activity” means . . .

                (B) any act which is indictable under any of the following
                provisions of title 18, United States Code” Section 201
                (relating to bribery), section 224 (relating to sports bribery),
                section 471, 472, and 473 (relating to counterfeiting), section
                659 (relating to theft from interstate shipment) if the act
                indictable under section 659 is felonious, . . . sections 2314
                and 2315 (relating to interstate transportation of stolen
                property), . . . .

  Id. at 1223, n. 3 (citing 18 U.S.C. § 1961 (1976)) (emphasis added). The defendant

  argued that the section 1962(c) count failed to charge an offense because “the section

  2314 conduct that allegedly constituted a section 1962(c) pattern of racketeering was

  not described as interstate transportation of stolen property; rather, the conduct

  pertained only to securities converted or taken by fraud. Id. (emphasis in original).

  Thus according to the defendant, “the explanatory parenthetical . . . limit[ed] the kind of

  section 2314 conduct that constitute[s] a pattern of racketeering activity for section

  1962(c) purposes to interstate transportation of stolen property.” Id. (emphasis in

  original).

         The former Fifth Circuit rejected the defendant’s interpretation of 18 U.S.C. §

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           The Eleventh Circuit in Bonner v. City of Prichard, 661 F. 2d 1206, 1207 (11th
  Cir. 1981), adopted as precedent decisions of the former Fifth Circuit rendered prior to
  October 1, 1981.

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  1961 (1976), noting that “[t]he Organized Crime Control Act of 1970 . . . was enacted to

  further the eradication of organized crime” and “[s]uch a restrictive reading of the

  statute as that suggested by [the defendant] would undermine the remedial purposes

  that Congress intended.” Id. at 1223. The Court further noted that “[i]f Congress had

  intended to exclude the interstate transportation of property obtained by fraud from its

  definition in section 1961, it specifically could have limited the incorporation of section

  2314 as it did the incorporation of section 659, where only felonious acts under section

  659 [we]re included.”3 Id. Thus, the Court held that “the reference to the interstate

  transportation of stolen property in the parenthetical following the citation of section

  2314 in the section 1961 definition of racketeering activity was intended merely to aid

  the identification of section 2314 rather than to limit the proscriptions of that section.” Id.

         Similarly in Monjaras-Castenada, 190 F. 3d 326 (5th Cir. 1999), the Fifth Circuit

  held that the “related to” parenthetical in 8 U.S.C. § 1101(a)(43)(N) was descriptive not

  limiting. The issue before the court was whether a 16-level sentence enhancement

  pursuant to U.S.S.G § 2L1.2(b)(a) was applicable based on an illegal alien

  transportation conviction. At the time, U.S.S.G § 2L1.2(b)(a) read: “If the conviction was

  for an aggravated felony, increase by 16 levels.” Application Note One explained that

  the term “[a]ggravated felony” was defined by 8 U.S.C. § 1101(a)(43)(N). Section

  1101(a)(43)(N) read: “The term ‘aggravated felony’ means . . . an offense described in

  paragraph (1)(A) or (2) of section 1324(a) of this title (relating to alien smuggling). 8



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          The referenced portion of section 1961 reads: “section 659 (relating to theft
  from interstate shipment) if the act indictable under section 659 is felonious.” 18
  U.S.C. § 1961(1)(B) (1976) (emphasis added).

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  U.S.C. § 1101(a)(43)(N) (emphasis added).

         The defendant, who had previously been convicted of illegal transportation of

  aliens, argued that the sentencing enhancement was not applicable because he had

  not been convicted of alien smuggling. According to the defendant, “a conviction for

  transporting aliens d[id] not ‘relate to alien smuggling.’” Id. at 328. In rejecting the

  defendant’s argument, the Fifth Circuit reasoned that:

         The context in which the parenthetical appears in this case suggests its
         descriptive nature. Section 1101(a)(43) contains a long list of aggravated
         felonies that it references by section number. Without any descriptions of
         what this litany of numbers referred to, determining whether an offense
         qualified as an aggravated felony would be a long and arduous process.
         One would need to look up each section number in the Code to get to the
         right one. The parentheticals here provide an aid to identification only.

  Id. at 330 (internal quotation marks omitted).

         This Court is bound by the decisions of the former Fifth Circuit prior to October 1,

  1981. Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981). Although,

  Herring did not address the specific statute in the instant case, the undersigned finds

  the reasoning in Herring persuasive. As in Herring, the statute in the instant case, 18

  U.S.C. § 1028A (c), contains a long list of enumerated offenses. Identifying which

  offenses could serve as underlying offenses “would be a long and arduous process.”

  Monjaras-Castenada, 190 F. 3d at 330. Had Congress intended to omit health-care

  fraud from the list of underlying offenses in section 1028A(c)(5), it would have used

  language similar to section 1028A(c)(4), which states: “any provision contained in this

  chapter (relating to fraud and false statements), other than this section or section

  1028(a)(7).” 18 U.S.C. § 1028A(c)(4) (emphasis added). See Herring, 602 F.2d at 1223



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  (noting that had Congress intended to limit section 2314 it would have used the same

  language used to limit section 659 “(relating to theft from interstate shipment) if the act .

  . . is felonious”).

          The undersigned is not persuaded by the reasoning in State v. Rubio, 967 So.2d

  768, 780 (Fla. 2007). As Herring and Monjaras-Castenada demonstrate, construing the

  “related to” language as descriptive does not render it superfluous. Additionally, and as

  the government points out, “[u]nder accepted rules of statutory construction, it is

  generally presumed that Congress in drafting legislation, is aware of well-established

  judicial constructions of other pertinent existing statutes.” Government’s Response to

  Motion to Dismiss Counts 45-56 (Aggravated Identity Theft) (DE# 252 at 7, 2/24/08)

  citing United States v. Jordan, 915 F.2d 622, 628 (11th Cir. 1990). Since Rubio

  involved a State of Florida statute and the Florida Supreme Court decided Rubio in

  2007, Congress could not have been aware of Rubio’s construction of Fla. Stat. §

  895.02(1)(a) (2002) when it enacted 18 U.S.C. § 1028A in 2004.

          Based on the foregoing, the undersigned respectfully recommends that Mabel

  and Abner Diaz’s Motion to Dismiss Counts 45-56 (DE# 248, 2/21/08) be DENIED.

  II.     Mabel and Abner Diaz’s Motion to Dismiss Counts 34 or 3[9] Based on
          Multiplicity (DE# 249, 2/21/08)

          The defendants argue that the Second Superceding Indictment improperly

  charges them with two counts (Counts 34 and 39) of Conspiracy to Commit Money

  Laundering, in violation of 18 U.S.C. § 1956(h). See Mabel and Abner Diaz’s Motion to

  Dismiss Counts 34 or 3[9] Based on Multiplicity (DE# 249, 2/21/08). While the

  government opposes the defendants’ motion, in its response, the government advises


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   that it expects to propose a superceding indictment charging a single count of

   conspiracy to commit money laundering with two objects, thereby correcting any

   multiplicity between Counts 34 and 39. As such, the undersigned recommends that

   Mabel and Abner Diaz’s Motion to Dismiss Counts 34 or 3[9] Based on Multiplicity (DE#

   249, 2/21/08) be DENIED as moot.

   III.   Mabel and Abner Diaz’s Motion to Dismiss Counts 2-33 Based on
          Multiplicity (DE# 250, 2/21/08)

          The defendants seek to dismiss Counts 2 through 33 of the Second Superceding

   Indictment for multiplicity. See Mabel and Abner Diaz’s Motion to Dismiss Counts 2-33

   Based on Multiplicity (DE# 250, 2/21/08). According to the defendants, the government

   should have charged them with one count of Health Care Fraud, in violation of 18

   U.S.C. § 1347, instead of improperly charging them with 32 different counts for a single

   “scheme or artifice”. Id. at 1-2. Title 18, United States Code, Section 1347 states, in

   pertinent part:

          Whoever knowingly and willfully executes, or attempts to execute, a
          scheme or artifice–

                 (1) to defraud any health care benefit program; or

                 (2) to obtain, by means of false or fraudulent pretenses,
                 representations, or promises, any of the money or property
                 owned by, or under the custody or control of, any health care
                 benefit program, in connection with the delivery of or
                 payment for health care benefits, items, or services, shall be
                 fined under this title or imprisoned not more than 10 years,
                 or both.

   18 U.S.C. § 1347. “The defendants acknowledge that the courts that have decided to

   date what constitutes the proper unit of prosecution under § 1347 do not agree with [the



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   defendants’] interpretation of the statute.” See Mabel and Abner Diaz’s Motion to

   Dismiss Counts 2-33 Based on Multiplicity (DE# 250 at 2, 2/21/08).

         Counts 2 through 33 charge a representative sample of Medicare claims

   submitted by the defendants. Each count charges the defendants with the submission

   of a separate claim. The government argues that “[b]ecause each Medicare claim

   created [a] separate financial risk to Medicare, the government has properly charged a

   representative sample of those claims in separate counts of the indictment.” See

   Government’s Response to Motions to Dismiss Based on Multiplicity (DE# 256 at 3,

   2/29/08) (internal citation and quotation marks omitted).

         The Eleventh Circuit in United States v. De La Mata, 266 F.3d 1275 (11th Cir.

   2001) interpreted a similar statute, the bank fraud statute, in addressing the defendants’

   ex post facto claims. The bank fraud statute reads as follows:

         Whoever knowingly executes, or attempts to execute, a scheme or
         artifice--

                (1) to defraud a financial institution; or

                (2) to obtain any of the moneys, funds, credits, assets,
                securities, or other property owned by, or under the custody
                or control of, a financial institution, by means of false or
                fraudulent pretenses, representations, or promises;

         shall be fined not more than $1,000,000 or imprisoned not more than 30
         years, or both.

   18 U.S.C. § 1344. The Eleventh Circuit rejected the government’s position that bank

   fraud was a continuing offense. “The law is clear that the bank fraud statute imposes

   punishment for each ‘execution’ of the scheme to defraud, and not each act in

   furtherance.” Id. at 1289. The Eleventh Circuit further noted that “a single bank fraud


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   scheme [could] be executed multiple times.” Id. at 1290. Because the language and

   structure of the bank fraud statute is similar to the health care fraud statute in the

   instant case, the Eleventh Circuit’s interpretation of the bank fraud statute is instructive.

   See United States v. Hickman, 331 F.3d 439, 441 (5th Cir. 2003) (rely on bank fraud

   statute cases in interpreting health care fraud statute).

          In Hickman, 331 F.3d at 441, the defendant was charged in two indictments with

   multiple counts of health care fraud, in violation of 18 U.S.C. § 1347. The two cases

   were consolidated for trial and the defendant was convicted of all counts. Id. On

   appeal, the defendant argued that counts one through three of the health care fraud

   counts violated the Ex Post Facto Clause because the alleged fraudulent acts occurred

   before the effective date of the health care fraud statute, 18 U.S.C. § 1347. Id. at 445.

   The Fifth Circuit relied on De La Mata and other bank fraud cases in interpreting section

   1347 noting that the “language and structure [of the health care fraud statute was]

   almost identical to the bank fraud statute, 18 U.S.C. § 1344.” Id. The court held “by

   analogy, that the health care fraud statute, § 1347, punishes executions or attempted

   executions of schemes to defraud, and not simply acts in furtherance of the scheme. . ..

   [A]lthough the crime of health care fraud is complete upon the execution of a scheme,

   any scheme can be executed a number of times, and each execution may be

   charged as a separate count.” Id. at 446 (emphasis added).

          As in Hickman, the undersigned is persuaded by the cases interpreting the

   similarly worded bank fraud statute, 18 U.S.C. § 1344, and finds that the unit of the

   offense created by the health care fraud statute, § 1347, is each execution or attempted



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   execution of a scheme or artifice. As such, the government properly charged, as

   separate counts, a representative sample of Medicare claims submitted by the

   defendants. It is respectfully recommended that Mabel and Abner Diaz’s Motion to

   Dismiss Counts 2-33 Based on Multiplicity (DE# 250, 2/21/08) be DENIED.

                                      RECOMMENDATION

            For the foregoing reasons, the undersigned recommends that: (1) Mabel and

   Abner Diaz’s Motion to Dismiss Counts 34 or 3[9] Based on Multiplicity (DE# 249,

   2/21/08) be DENIED as moot and (2) Mabel and Abner Diaz’s Motion to Dismiss

   Counts 45-56 (DE# 248, 2/21/08) and Mabel and Abner Diaz’s Motion to Dismiss

   Counts 2-33 Based on Multiplicity (DE# 250, 2/21/08) be DENIED.

            Pursuant to 28 U.S.C. §636(b)(1)(B) and (C), the parties may serve and file

   written objections to this Report and Recommendation with the Honorable Ursula

   Ungaro, United States District Judge, within ten (10) days of receipt of a copy of this

   Report and Recommendation. See Nettles v. Wainwright, 677 F. 2d 404 (5th Cir.

   1982).

            RESPECTFULLY SUBMITTED in Chambers at Miami, Florida this 12th day of

   March, 2008.


                                             _________________________________
                                             JOHN J. O’SULLIVAN
                                             UNITED STATES MAGISTRATE JUDGE


   Copies provided to:
   United States District Judge Ungaro
   All counsel of record



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